

Strategic Funding Source, Inc. v Steenbok, Inc. (2021 NY Slip Op 03127)





Strategic Funding Source, Inc. v Steenbok, Inc.


2021 NY Slip Op 03127


Decided on May 13, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 13, 2021

Before: Renwick, J.P., Manzanet-Daniels, Kennedy, Shulman, JJ. 


Index No. N652710/19 Appeal No. 13844N Case No. 2020-04995 

[*1]Strategic Funding Source, Inc. Doing Business as Kapitus, et al., Plaintiffs-Respondents,
vSteenbok, Inc., et al., Defendants-Appellants.


Harriette N. Boxer, Bay Shore, for appellants.
Kristyn N. Harrison, New York (K. Nicola Harrison of counsel), for respondents.



Order, Supreme Court, New York County (Arlene P. Bluth, J.), entered on or about December 8, 2020, which, to the extent appealed from as limited by the briefs, granted plaintiffs' motion to compel discovery to the extent of directing defendants to comply with certain specified requests and to submit to depositions, unanimously affirmed, without costs.
Although some of the information plaintiff seeks pre- and post-dates the terms of the contracts at issue, the information is nonetheless material and necessary to its claims (see  CPLR 3101[a]; Allen v Crowell-Collier Publ. Co ., 21 NY2d 403 [1968]), since plaintiffs allege that defendants warranted their financial condition when they entered into the contracts, that they may have misrepresented their financial condition, and that they failed to meet their financial obligations under the contracts. The post-contract events are relevant to plaintiff's claims and potential damages, given the conflicting evidence as to whether defendant Steenbok remained in business or had sold or otherwise transferred its assets to a successor entity and since the contracts provided that their terms would be binding upon the parties' respective successors and assigns.
We have considered defendants' remaining arguments and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 13, 2021








